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                             UNITED STATES DISTRICT COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
                                  WESTERN DIVISION
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11    UNITED STATES OF AMERICA,               Civil Case No. 21-6582-JFW (KSx)
12             Plaintiff,
                                              STIPULATED ORDER FOR
13        v.                                  PERMANENT INJUNCTION AND
                                              FINAL JUDGMENT AS TO
14    INTERNET TRANSACTION                    DEFENDANT MICHAEL YOUNG
15    SERVICES, INC., et al.,

16             Defendants.
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 1            On August 13, 2021, the United States of America filed its Complaint for
 2    Temporary Restraining Order, Preliminary and Permanent Injunctions, and Other
 3    Equitable Relief (the “Complaint”) against Defendant Michael Young
 4    (“Defendant”) and other named Defendants, pursuant to 18 U.S.C. § 1345, based
 5    on Defendants’ alleged violations of 18 U.S.C. §§ 1343, 1344, and 1349. On
 6    August 20, 2021, the Court issued its Order granting the United States’ Ex Parte
 7    Application for a Temporary Restraining Order. On September 2, 2021, the Court
 8    issued a Preliminary Injunction.
 9            The United States and Defendant stipulated to the entry of this Stipulated
10    Order for Permanent Injunction (“Order”). Defendant, pro se, entered into the
11    Stipulation freely and without coercion. Defendant further acknowledged that he
12    has read the provisions of the Stipulation and this Order, understands them, and is
13    prepared to abide by them. Per the parties’ agreement, the Stipulation and this
14    Order resolve only the claims against Defendant in the above-captioned civil
15    lawsuit. They do not prevent the United States from pursuing criminal penalties
16    against Defendant in relation to the conduct alleged in the Complaint, nor does
17    Defendant’s Stipulation constitute evidence that Defendant committed the acts
18    alleged in the Complaint, or in any way prejudice Defendant’s ability to contest the
19    allegations in the Complaint in a future proceeding.
20            Accordingly, it is hereby ORDERED, ADJUDGED, AND DECREED that:
21                                             FINDINGS
22            A.    This Court has jurisdiction over the subject matter of this case and
23    there is good cause to believe that it will have jurisdiction over all parties hereto
24    and that venue in this district is proper.
25            B.    The United States seeks injunctive relief pursuant to 18 U.S.C. §
26    1345.
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 1          C.        Defendant neither admits nor denies any of the allegations in the
 2    Complaint. Only for purposes of this action, Mr. Young admits the facts necessary
 3    to establish jurisdiction.
 4                                        DEFINITIONS
 5          For the purpose of this Order:
 6          A.        “Asset” means any legal or equitable interest in, right to, or claim to,
 7    any property, wherever located and by whomever held.
 8          B.        “Corporate Entities” means Defendants Internet Transaction
 9    Services, Inc., Intertrans.com, Inc., and each of the “Shell Entities” defined below.
10          C.        “Payment Processing Services” means handling credit card
11    transactions, debit card transactions, Automated Clearing House (ACH)
12    transactions, check transactions, money orders, or cash transactions.
13          D.        “Person” means any individual, corporation, a partnership, or any
14    other entity.
15          E.        “Receiver” means Thomas W. McNamara, and any deputy receivers
16    that shall be named by him.
17          F.        “Receivership Entities” means Defendants Internet Transaction
18    Services, Inc.; Intertrans.com, Inc.; as well as any other entity that has conducted
19    any business related to Intertrans’ participation in the scheme that is the subject of
20    the Complaint in this matter, including receipt of Assets derived from any activity
21    that is the subject of the Complaint in this matter, and that the Receiver
22    determines is controlled or owned by Intertrans.
23          G.        “Shell Entities” means Defendants Be a Kloud LLC; Blue Water
24    LLC; CBX International Inc. (Delaware); CBX International, Inc. (Florida); Delta
25    Cloud LLC; Dollar Web Sales LLC; ECloud Secure LLC; Eastgate View LLC; I-
26    Support Group LLC; My Kloud Box LLC; Newagecloudservices LLC; NRG
27    Support LLC; Silver Safe Box LLC; Silver Safe Box Inc.; Storage VPN LLC; and
28    VPN Me Now LLC.
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 1                                              ORDER
 2    I.    PROHIBITED ACTIVITIES
 3          IT IS ORDERED that Defendant, his agents and attorneys, and all other
 4    persons in active concert or participation with him, who receive actual notice of
 5    this Order by personal service or otherwise, are permanently restrained and
 6    enjoined from:
 7          A.     Committing or conspiring to commit wire fraud, as defined by 18
 8    U.S.C. §§ 1343 and 1349;
 9          B.     Committing or conspiring to commit bank fraud, as defined by 18
10    U.S.C. §§ 1344 and 1349;
11          C.     Charging or debiting or causing others to charge or debit any person
12    or entity on behalf of any Shell Entities or for the purported purchase of any Shell
13    Entities’ services;
14          D.     Debiting or causing others to debit funds from consumers’ bank
15    accounts without their prior authorization;
16          E.     Engaging in any measures to avoid fraud and risk monitoring
17    programs established by any financial institution, payment processors, or the
18    operators of any payment system, including by using sham transactions, such as
19    the “micro transactions” described in the Complaint, to reduce a bank account’s
20    return or chargeback rate, or by using shell corporations to open bank accounts or
21    payment processing accounts;
22          F.     Incorporating or creating any corporate entity for the purpose of
23    debiting funds from consumers’ bank accounts without their prior authorization;
24          G.     Selling, renting, leasing, transferring, or otherwise disclosing, the
25    name, address, birth date, telephone number, email address, credit card number,
26    bank account number, Social Security number, IP address, or other financial or
27    identifying information of any person that any Defendant obtained in connection
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 1    with any activity that pertains to the subject matter of this Order or the Complaint
 2    in this case;
 3           H.       Providing payment processing services to or otherwise working with
 4    any Defendant named in the Complaint; and
 5           I.       Providing any support or substantial assistance to any Person that
 6    Defendant knows or has reason to know is engaged in any of the Prohibited
 7    Activities set forth above.
 8    II.    COOPERATION WITH RECEIVER AND ASSET FREEZE
 9           For any Corporate Entities’ or Receivership Entities’ Assets within the
10    control of Defendant, his agents and attorneys, and/or all other persons in active
11    concert or participation with him, Defendant shall:
12           A.       Hold, preserve, and retain within his control and prohibit the
13    withdrawal, removal, alteration, assignment, transfer, pledge, encumbrance,
14    disbursement, dissipation, relinquishment, conversion, sale, or other disposal of
15    any Asset, as well as all Documents or other property related to such Assets,
16    except by further order of this Court or by direction of the Receiver;
17           B.       Fully cooperate with and assist the Receiver in taking and maintaining
18    possession, custody, or control of the Receivership Entities’ Assets; and
19           C.       To the extent he has not done so already, provide the United States,
20    within seven (7) days after entry of this Order or of obtaining direct or indirect
21    control over the Assets: (1) a list of all accounts, including savings, checking,
22    investment, and merchant accounts held in the name of a Corporate Entity or
23    Receivership Entity, for which the Defendant is an accountholder, signatory,
24    beneficiary, or over which the Defendant otherwise has control; (2) a list of any
25    other Assets held or controlled by the Defendant in the name of a Corporate Entity
26    or Receivership Entity; and (3) the balance of each such account, or a description
27    of the nature and value of each such Asset.
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 1    III.   COMPLIANCE MONITORING
 2           For a period of five (5) years after the date of entry of this Order, Defendant
 3    must notify the United States if he:
 4           A.    Creates, operates, is employed by, or otherwise becomes involved in
 5    any business or entity that provides, or consults or provides advice regarding
 6    Payment Processing Services;
 7           B.    Creates, operates, is employed by, or otherwise becomes involved in
 8    any business or entity that monitors return or chargeback rates for any other
 9    business or corporate entity; and/or provides advice or consulting on how to lower
10    or manage return or chargeback rates for any business or corporate entity;
11           C.    Creates, operates, is employed by, or otherwise becomes involved in
12    any business or entity that purports to offer cloud computing services, identity theft
13    protection services, or technology support services;
14           D.    Creates, operates, or exercises control over any business entity,
15    whether newly formed or previously inactive. Defendant must also provide the
16    United States with a written statement disclosing: (1) the name of the business
17    entity; (2) the address and telephone number of the business entity; (3) the names
18    of the business entity’s officers, directors, principals, managers, and employees;
19    and (4) a detailed description of the business entity’s intended activities;
20           E.    Knows or has evidence indicating that a person engaging in conduct
21    defined as a Prohibited Activity has solicited Defendant’s assistance in connection
22    with such Prohibited Activity. Defendant must also provide the United States with
23    a written statement disclosing: (1) the name of the person that solicited his
24    assistance in connection with the Prohibited Activity; (2) the nature of the
25    Prohibited Activity in which he knows or has evidence indicating that the person is
26    involved.
27           The required notification may be provided by emailing Postal Inspector
28    Ashlea Bowens at ARBowens@uspis.gov.
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 1    IV.   ORDER ACKNOWLEDGMENTS
 2          It is further ordered that within fifteen (15) days after entry of this Order, the
 3    Defendant is ordered to submit to Postal Inspector Ashlea Bowens a written
 4    acknowledgement of receipt of this Order sworn under penalty of perjury. The
 5    statement shall be addressed to:
 6          Postal Inspector Ashlea Bowens
 7          U.S. Postal Inspection Service
 8          P.O. Box 7404
 9          Washington, DC 20044-7404
10    V.    MODIFICATION OF ORDER
11          This Order shall not be modified except in writing by the United States and
12    Defendant and approved by the Court.
13    IV.   RETENTION OF JURISDICTION
14          IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this
15    matter for all purposes.
16    SO ORDERED
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18    DATED: October 8, 2021
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21                                            United States District Judge
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